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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN
                                  SOUTHERN DIVISION

DANELL SMITH,

        Petitioner,                                           Criminal No. 00-80762
                                                              Civil No. 04-70961
v.

UNITED STATES OF AMERICA,                                     Hon. John Corbett O’Meara

      Respondent.
___________________________________/

              ORDER DENYING MOTION TO SCHEDULE EVIDENTIARY
                HEARING AND FOR APPOINTMENT OF COUNSEL
                      AND SETTING BRIEFING SCHEDULE

        Before the court is Petitioner’s motion to schedule evidentiary hearing and for

appointment of counsel, filed April 30, 2007. The government has not submitted a response.

        On October 30, 2006, the Sixth Circuit issued an order reversing this court’s decision to

dismiss Petitioner’s ineffective assistance of counsel claim as procedurally barred. The court

remanded the case so that this court can consider the merits of Petitioner’s claim that trial

counsel rendered ineffective assistance by not informing him of the details of a plea bargain or

advising him whether to accept it. The mandate was issued December 5, 2006.

        Petitioner now requests an evidentiary hearing, contending that his ineffective assistance

of counsel claim “alleges factual events outside the record of this case.” The record is not

sufficiently developed so as to allow the court to determine whether an evidentiary hearing is

necessary in this case. Therefore, the parties shall brief this matter as follows:

        Petitioner shall submit a memorandum detailing the factual basis of his ineffective

assistance of counsel claim by August 10, 2007.

        The government shall submit a response brief by August 24, 2007. Petitioner may
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submit a reply brief, if any, by September 7, 2007.

       SO ORDERED.

       IT IS FURTHER ORDERED that Petitioner’s motion to schedule evidentiary hearing

and for appointment of counsel is DENIED WITHOUT PREJUDICE.



                                            s/John Corbett O’Meara
                                            United States District Judge


Dated: July 10, 2007




I hereby certify that a copy of the foregoing document was served upon the parties of record on
this date, July 11, 2007, by electronic and/or ordinary mail.


                                            s/William Barkholz
                                            Case Manager




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